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                        EXHIBIT 1
                                to
PLAINTIFFS’ MOTION FOR PRELIMINARY
             INJUNCTION
                                in
Center for Biological Diversity and Amargosa
   Conservancy v. Debra Haaland, et al.
       Case No. 2:21-cv- 01049-JAD-NJK


              Declaration of Scott Lake
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         SCOTT LAKE                                       ROGER FLYNN
 1       NV Bar No. 15765                                 CO Bar No. 21078
         CENTER FOR BIOLOGICAL DIVERSITY                  WESTERN MINING ACTION PROJECT
 2       P.O. Box 6205                                    P.O. Box 349, 440 Main Street, #2
         Reno, NV 89513                                   Lyons, CO 80540
 3       Phone: (802) 299-7495                            Phone: (303) 823-5738
         Email: slake@biologicaldiversity.org             Email: roger@wmaplaw.org
 4                                                        (pro hac vice application pending)
 5       Attorneys for Plaintiffs
 6
                                    UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
 8
         CENTER FOR BIOLOGICAL DIVERSITY
 9
         and AMARGOSA CONSERVANCY,
                                                          Case No: 2:23-cv-1049-JAD-NJK
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               Plaintiffs,
11
         vs.                                              DECLARATION OF SCOTT LAKE
12
13       DEBRA HAALAND in her official capacity
         as Secretary of the Interior, TRACY STONE-
14       MANNING in her official capacity as the
         Director of the Bureau of Land Management,
15       U.S DEPARTMENT OF THE INTERIOR,
         BUREAU OF LAND MANAGEMENT, and
16
         NICHOLAS B. PAY in his official capacity
17       as Field Manager of the Bureau of Land
         Management Pahrump Field Office,
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               Defendants.
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 1       I, Scott Lake, hereby declare as follows:

 2                  1.    I have personal knowledge of the facts set forth in this declaration. If called as a

 3       witness, I could and would competently testify to these facts.

 4                  2.    I represent Plaintiffs Center for Biological Diversity and Amargosa Conservancy

 5       in Center for Biological Diversity v. Haaland, 2:23-cv-01049-JAD-NJK (D. Nev.).

 6                  3.    On July 7, 2023, I filed Plaintiffs’ Complaint (ECF 1) alleging violations of the

 7       Federal Land Management and Policy Act (FLPMA), the National Environmental Policy Act

 8       (NEPA) and BLM’s mining regulations, and requesting injunctive relief, vacatur, and declaratory

 9       relief.

10                  4.    On July 7, 2023, after the complaint was filed, my co-counsel in this matter, Roger

11       Flynn, contacted attorneys at the U.S. Department of Justice informing them that the complaint

12       had been filed and requesting a delay of ground-disturbing activity sufficient to avoid the need for

13       immediate injunctive relief. Attachment 1 is a true and correct copy of this email exchange.

14                  5.    On July 10, 2023, attorneys at the U.S. Department of Justice contacted counsel for

15       Plaintiffs to inform them that, according to statements from project proponent Rover Metals

16       (USA), Inc. (Rover), ground disturbance would start August 1. See Attachment 1.

17                  6.    On July 13, 2023, Plaintiffs’ counsel and Defendants’ counsel agreed on a proposed

18       briefing schedule for a Motion for Preliminary Injunction that would begin on July 17, 2023 and

19       conclude on July 28, 2023. See id; see also Joint Motion to Expedite, ECF 7. This agreed-upon

20       schedule was submitted jointly to this Court by Plaintiffs and Defendants on July 14, 2023. ECF

21       7. This Court granted the joint motion on July 17, 2023. ECF 8.

22                  7.    On July 13, 2023, Plaintiffs were contacted by a reporter from the Las Vegas

23       Review-Journal requesting comment on statements from Defendants indicating that the challenged

24       agency action had been paused, and that Defendants were going to require a Plan of Operations

25       and NEPA analysis before allowing Rover’s project to go forward. Later that day, the Las Vegas

26       Review-Journal published an article stating that the challenged action has been paused pending a

27       Plan of Operations and NEPA review. Colton Lochhead, Lithium drilling plans near Ash Meadows



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 1       refuge on pause, Las Vegas Review-Journal (July 13, 2023), available at: https://www

 2       .reviewjournal.com/news/politics-and-government/lithium-drilling-plans-near-ash-meadows-

 3       refuge-on-pause-2871536/. According to the article, a BLM spokesperson stated: “Nothing is

 4       going to happen until we do a complete (National Environmental Protection [sic] Act) review . . .

 5       Exploratory drilling is on hold until Rover submits a plan of development.” Id.

 6              8.       Plaintiffs requested confirmation of this news from Defendants’ counsel, who

 7       replied, “BLM has not issued any decision on this but I will keep you updated on any

 8       developments.” Attachment 1.

 9              9.       On July 14, 2023, Plaintiffs’ counsel requested an update from Defendants’ counsel

10       on the news that ground-disturbing activity had been paused pending a Plan of Operations and

11       NEPA review. Defendants’ counsel replied: “BLM is considering information it has received but

12       no new decision on the exploratory drilling has issued nor is likely to issue before next week. We

13       also have not heard anything from Rover on whether their plans to start drilling on August 1st have

14       changed.” Id.

15              10.      Plaintiffs’ counsel then requested clarification from Defendants’ counsel due to the

16       apparent inconsistency between Defendants’ public statements and Defendants’ counsel’s

17       statements to Plaintiffs in this litigation. Defendants’ counsel replied: “[W]e are aware of the press

18       statement, but BLM has not yet issued any final decision. Until it does, I cannot say with certainty

19       what Rover’s regulatory status is or will be.” Attachment 2 is a true and correct copy of this email

20       exchange.

21              11.      Since July 14, 2023, Plaintiffs have not received any further information from

22       Defendants or their attorneys.

23              12.      Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is

24       true and correct to the best of my personal knowledge.

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 1        DATED: July 17, 2023

 2        /s/ Scott Lake
          SCOTT LAKE
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    Attachment 1 to the Declaration of Scott Lake
Email Exchange with Defendants’ Attorneys at the U.S.
       Department of Justice (July 7-14, 2023)
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     Attachment 2 to the Declaration of Scott Lake
 Email Exchange with Defendants’ Attorneys at the U.S.
         Department of Justice (July 14, 2023)
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